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  MAZZOLA LINDSTROM, LLP
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  IN THE UNITED STATES DISTRICT COURT
  FOR THE SOUTHERN DISTRICT OF FLORIDA
  -----------------------------------------------------------------x
  JIANGMEN BENLIDA PRINTED                                             CM/ECF
  CIRCUIT CO., LTD.,
                                                                       Civil Action No.: 21-60125-CIV-
                               Plaintiff,                              SCOLA/SNOW
             -against-

  CIRCUITRONIX LLC,

                                Defendant.
  -----------------------------------------------------------------x


                 On-Consent Motion for Enlargement of Time to Interpose Answer
          Plaintiff Jiangmen Benlida Printed Circuit Co., Ltd., by and through counsel, Mazzola

  Lindstrom LLP, respectfully moves this Court for an order enlarging their time to submit their

  reply to Defendant Circuitronix LLC’s opposition to Benlida’s motion for partial summary

  judgment (DE 56) from March 8, 2022 to March 15, 2022. This is plaintiff’s first request for an

  enlargement of time to answer.

          The reason for this request is that I am commencing trial in another matter on Monday,

  March 7th, and am currently devoting all available time to preparing for the trial. Moreover, the

  trial will be in Indiana, so I will be unable to supervise my colleagues in the preparation of the

  reply papers while I’m away. I expect the trial to be finished by Thursday, March 10th.
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                                            Certification
         On March 3, my associate, Kevin Kelly, exchanged emails with Chauncey D. Cole IV,

  Esq., counsel for defendant, to request an enlargement of time to reply because of the

  undersigned’s trial, and Mr. Cole graciously consented to an enlargement of Benlida’s time to

  respond to March 15, 2022.


  Dated: New York, New York
         March 4, 2022
                                                      Respectfully submitted,
                                                      MAZZOLA LINDSTROM LLP



                                               By:    ______________________
                                                      Jean-Claude Mazzola, Esq.
                                                      1350 Avenue of the Americas, 2nd Floor
                                                      New York, NY 10019
                                                      Tel: (646) 250-6666
                                                      Attorneys for Plaintiff

  To:    Chauncey D. Cole IV, Esq. (via email)


                                        Certificate of Service

  I HEREBY CERTIFY that a true copy of the foregoing has been served via transmission of
  Notices of Electronic Filing generated by CM/ECF on March 4, 2022 as filed with the Clerk of the
  Court using CM/ECF.


                                               By:    ______________________
                                                      Jean-Claude Mazzola, Esq.
